Case 1:17-cv-24366-KMW Document 1 Entered on FLSD Docket 12/04/2017 Page 1 of 5




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           MIAMI DIVISION

                             Case Number ____________________

  LAWRENCE C. JOHNSON,                 :

          Plaintiff,                   :

  v.                                   :

  UNITED STATES OF AMERICA             :
  d/b/a MIAMI VA HEALTHCARE
  SYSTEM,                              :

       Defendants.           :
  __________________________

                                 COMPLAINT FOR DAMAGES

          COMES NOW, the Plaintiff, LAWRENCE C. JOHNSON, and sues Defendant UNITED

  STATES OF AMERICA d/b/a MIAMI VA HEALTHCARE SYSTEM, and states:

       1. That this is an action for damages under the Federal Tort Claims Act, 28 USC

          1346(B), et seq. within the jurisdictional limits of this Court, and the United States

          District Court has jurisdiction of this case as a matter of law in all respects.

       2. That at all pertinent times, Plaintiff LAWRENCE C. JOHNSON is a resident of Miami-

          Dade County, Florida as well as a veteran of the United States Armed Services

          having served as an active duty member of the United States Marine Corps from

          on or about October 1967 through May 1969.




                                                 1
Case 1:17-cv-24366-KMW Document 1 Entered on FLSD Docket 12/04/2017 Page 2 of 5


    3. That the United States of America does business at all pertinent times as the MIAMI

       VA HEALTHCARE SYSTEM and owned and operated a hospital in Miami-Dade

       County known as the Miami VA Hospital.

    4. That at all pertinent times, said Defendant acted by its employees, agents, and

       apparent agents of physicians, staff, nurses and technicians including, but not

       limited to, Relin Yang, M.D. and James Ashford, M.D. Relin Yang, M.D. and James

       Ashford, M.D. both examined and treated Plaintiff LAWRENCE C. JOHNSON in the

       VA Hospital while Plaintiff was an inpatient at the VA Hospital in the month of May

       2016. Based upon the actions and conduct of Relin Yang, M.D. and James Ashford,

       M.D. as treating physicians of Plaintiff LAWRENCE C. JOHNSON in the VA Hospital,

       Plaintiff LAWRENCE C. JOHNSON believed them to be employees or agents of the

       Defendant. Plaintiff LAWRENCE C. JOHNSON allowed or agreed to treatment by

       Relin Yang, M.D. and James Ashford, M.D., based upon their conduct and

       representation that they were agents or employees of the VA Hospital. Plaintiff

       LAWRENCE C. JOHNSON’S reliance was to his detriment as he was injured as set

       forth below by the actions and inactions of Relin Yang, M.D. and James Ashford,

       M.D.

    5. That any and all conditions precedent to the maintenance of this action have been

       complied with, have occurred or have been waived by Defendant, including notice

       to Defendant under 28 USC 1346(B) et seq. and Florida Statute 766 et seq.

       However, Defendant failed to cooperate and provide full and proper compliance

       with its obligations to provide good faith statutory presuit discovery as required by

       Florida Statute 766.106.


                                             2
Case 1:17-cv-24366-KMW Document 1 Entered on FLSD Docket 12/04/2017 Page 3 of 5


    6. That the undersigned counsel for the Plaintiff hereby certifies that a reasonable

       investigation as permitted by the circumstances has been made and said

       investigation gives rise to a good faith belief that grounds exist for this action

       against said Defendant.

    7. That on or about May 26, 2016, Plaintiff LAWRENCE C. JOHNSON received a

       Dobhoff feeding tube inserted by James Ashford, M.D. at Defendant Hospital. A

       Dobhoff feeding tube is a tube that allows liquefied food and nutritional products

       to be delivered through a tube inserted by the physician through the nose to travel

       directly into the stomach or duodenum (small intestine). James Ashford, M.D.

       breached the accepted standard of care and breached the prevailing professional

       practices that he owed to Plaintiff LAWRENCE C. JOHNSON in that instead of

       placing the Dobhoff feeding tube into Plaintiff’s stomach or duodenum, he placed

       it into Plaintiff’s lung and then failed to recognize or appreciate the tube’s

       misplacement and left it misplaced.

    8. That in spite of the fact that the Dobhoff feeding tube was misplaced, the Plaintiff

       was fed nutritional material and/or food through the Dobhoff feeding tube with

       the result being that the food traveled down the Plaintiff’s Dobhoff feeding tube

       into Plaintiff’s lung as opposed to Plaintiff’s stomach or duodenum.

    9. As a result of the acts stated above, food material was fed directly into Plaintiff

       LAWRENCE C. JOHNSON’S airway and lung causing and resulting in significant

       injuries and damages including, but not limited to, sepsis, pleural effusion and

       pneumonia.




                                             3
Case 1:17-cv-24366-KMW Document 1 Entered on FLSD Docket 12/04/2017 Page 4 of 5


    10. That Relin Yang, M.D. was the senior attending supervisor physician of James

       Ashford, M.D. and breached the accepted standard of care and prevailing

       professional practices owed to Plaintiff LAWRENCE C. JOHNSON by failing to

       properly supervise JAMES ASHFORD, M.D. and by failing to recognize the improper

       placement of the Dobhoff feeding tube and then allowing the feeding through the

       malpositioned and misplaced tube to occur.

    11. That further, Defendant, acting through James Ashford, M.D. and Relin Yang,

       M.D., and other Defendant’s staff members including nurses or technicians,

       breached the accepted standard of care and prevailing professional practices owed

       to Plaintiff LAWRENCE C. JOHNSON by utilizing the Dobhoff feeding tube without

       first verifying, through the use of radiological studies, that it was correctly inserted

       and placed in his stomach or duodenum. Further, as a result of the acts above,

       Plaintiff LAWRENCE C. JOHNSON was injured in and about his body and

       extremities, suffered and will suffer aggravation of pre-existing conditions,

       suffered and will suffer pain therefrom, suffered and will suffer mental pain and

       suffering, incurred and will incur medical expenses in the treatment of his injuries,

       suffered and will suffer physical handicap, his capacity to enjoy life was impaired

       in the past and into the future and he suffered a permanent injury within a

       reasonable degree of medical probability. His injuries and damages are permanent

       and continuing in nature and Plaintiff LAWRENCE C. JOHNSON will suffer losses

       and impairments in the future.




                                              4
Case 1:17-cv-24366-KMW Document 1 Entered on FLSD Docket 12/04/2017 Page 5 of 5


        WHEREFORE Plaintiff, LAWRENCE C. JOHNSON, sues Defendant UNITED STATES

  OF AMERICA d/b/a MIAMI VA HEALTHCARE SYSTEM for compensatory damages, costs,

  and such other relief as may be allowable by law.

        Dated this 4th day of December, 2017.


                                          JEFFREY RYNOR, ESQUIRE
                                          Co-Counsel for Plaintiff JOHNSON
                                          Mitrani Rynor Adamsky & Toland, P.A.
                                          301 W 41st Street, PH
                                          Miami Beach, FL 33140-3633
                                          Office: 305-358-0050
                                          Fax: 305-358-0550
                                          Email: jrynor@mitrani.com
                                          Florida Bar Number: 308838

                                          DEUTSCH BLUMBERG
                                          & CABALLERO, P.A.
                                          Co-Counsel for Plaintiff JOHNSON
                                          100 N. Biscayne Boulevard, Suite 2802
                                          Miami, Florida 33132
                                          Tel.: (305) 358-6329
                                          Fax: (305) 358-9304
                                          Email: erb@deutschblumberg.com


                                          By: __/s/Edward R. Blumberg ________
                                                EDWARD R. BLUMBERG, ESQ.
                                                Florida Bar No. 190870




                                             5
